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                UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                   ANDRE BISASOR, Plaintiff,
                                               v.
               CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                    UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                         Case No.1:23-cv-00374-JL
               EMERGENCY MOTION TO STAY THE DEADLINE
FOR THE MOTION TO AMEND THE COMPLAINT WITH AMENDED COMPLAINT UNTIL
THE PENDING ACTIVE MOTIONS THAT ARE NOT STAYED [INCLUDING FOR REMAND,
   FOR REMAND DISCOVERY AND FOR APPOINTMENT OF COUNSEL] ARE FULLY
                              RESOLVED
                 WITH REQUEST FOR EXPEDITED RULING
1. I hereby move to stay the deadline to file a motion to amend the complaint with the amended complaint,
    while the below matters are in the process of being resolved. Grounds are as follows.
2. There is a pending motion to remand the case to state court. This motion is an active motion and has not
    been stayed by the court.
3. There is a pending motion for limited discovery pertaining to the motion to remand to state court. This
    motion is an active motion and has not been stayed by the court.
4. There is a pending motion to appoint counsel. This motion is an active motion and has not been stayed by
    the court.
5. These items are antecedent to the motion to amend complaint or the amended complaint being filed and
    should be resolved first. The court itself stated previously that the remand issues takes precedence and
    priority over other issues because it is a jurisdictional issue and must be resolved first. The court has not
    abided by its own dictum. I have a right to know if this case will be remanded or if there will be limited
    discovery relating to remand, before having to file an amended complaint. The court has had these motions
    since December 2023. I cannot imagine the reason why they have not been ruled on.
6. I today also filed an objection to the magistrate judge’s ruling entered today 3-11-24 pertaining to my motion
    for reconsideration of my request for reasonable accommodation. I have the right to have the issue with my
    reasonable accommodation resolved first before being required to meet the current deadline due tomorrow,
    as it is directly related to it. I am also concerned about how the court will treat my need for accommodation
    going forward. Also, I would like to preserve my right to appeal this issue immediately should it be necessary
    given that it affects my ability to prosecute this case.
7. I also have issues with my pacer account which has been disabled (which I have indicated to the clerk office
    for some time now). I believe I need to file a motion to waive pacer fees with the court but have been unable
    to do so as yet, given everything else that is going on. Without my pacer account operational, I will be
    hampered in my ability to prosecute this case.
8. Based on the above, a stay is appropriate. It provides proper clarity or order to the case so that I am not
    having to do unnecessary tedious work including on amending the complaint or other such motions, if the
    court does not have jurisdiction over the case, or if discovery is need to properly and fairly dispose of the
    motion to remand, etc.
9. I ask that the deadline be stayed until these items are fully resolved.
10. I ask that this filing be forwarded to the district court judge Joseph Laplante and I ask that this be ruled upon
    as soon as possible (if possible by today) given that the deadline is tomorrow. If this motion will instead be
    ruled upon by the magistrate judge, I ask that it be ruled upon immediately (today if possible) given that the
    deadline is tomorrow.
11. Please grant a pro se liberal construction to this motion.
12. WHEREFORE, I respectfully request that this Court grants the relief requested or grant any other relief the
    Court deems proper.
                                                                                                Respectfully submitted,
                                                                                                      /s/Andre Bisasor
March 11, 2024                                                                                  Plaintiff Andre Bisasor
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                         CERTIFICATE OF SERVICE
       This filing is served to all parties of record via the e-filing system.
                                                                                 /s/Andre Bisasor
                                                                                    Andre Bisasor




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